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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                Plaintiff,      )
                      v.                        )
                                                )      No. 08 CR 846
JON BURGE                                       )
                                                )
                                Defendant,      )      Judge Joan H. Lefkow
                           v.                   )
                                                )
                                                )
KEITH MITCHELL                                  )
                                                )
                                  Intervenor.   )

                PROTECTIVE ORDER FOR MATERIALS
         PRODUCED BY THE UNITED STATES ATTORNEY’S OFFICE

       This matter having been presented to this court by petition filed by intervenor

Keith Mitchell, and this court having ruled on January 17, 2014, that the United States

Attorney produce pages 16 through 28 of Michael McDermott’s September 25, 2008

grand jury testimony pursuant to the terms of this protective order,

       IT IS ORDERED that pages 16 through 28 of Michael McDermott’s

September 25, 2008 grand jury testimony may be disclosed subject to the terms and

conditions of this protective order.

       This protective order applies to all responsive documents identified above.   The

protection granted by this order shall encompass the entire disclosure.   Any material

containing protected information that is provided to counsel for intervenor is to be




                                                                                 EXHIBIT A
  Case:
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identified on the outside of the sealed parcel containing the protected information with a

legend stating: “PROTECTED MATERIAL ENCLOSED”.                           Upon receiving the

protected material, counsel for intervenor is responsible for abiding by the terms and

conditions of this protective order.

       Counsel for the intervenor will be provided with a single copy of protected

material, except as otherwise agreed to by the United States Attorney.           The protected

material is only for use in the case entitled People of the State of Illinois v. Keith

Mitchell, No. 92 C 19459 (Circuit Court of Cook County).            Intervenor’s attorney may

provide one copy of any protected material to the State’s Attorney only after the State’s

Attorney has agreed in writing to abide by the terms of this protective order, and may

otherwise make additional copies only to be filed with a brief or other document or

material to be filed with the court.

       Disclosure of the material or information contained therein is to be limited to: (1)

the court; (2) counsel for intervenor and any professional, paralegal and clerical

personnel who are engaged in assisting counsel in People v. Mitchell, No. 92 C 19459;

(3) any person not employed by, or under contract with the intervenor who is retained by

the attorneys for the intervenor as a consultant or expert witness to assist in People v.

Mitchell, No. 92 C 19459; and (4) any other person whom the court has deemed to be

entitled to view the protected material.

       No protected material that is incorporated into a brief or as an exhibit to any court

filing shall be filed with the court unless (1) it is filed under seal, or (2) written notice has
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been provided to the United States Attorney and the United States Attorney does not

object to the filing.   If the United States Attorney objects, then the filing party and the

United States Attorney shall meet and confer, and if unable to resolve the objection, the

matter shall be brought before this court for resolution.

         No protected material may be disclosed to a consultant or expert witness unless

the individual has been designated in writing to the United States Attorney at least five

(5) business days in advance of any disclosure of protected material to such individual.

If objection is timely made, no protected material may be divulged to a consultant or

expert without court approval.      Disclosure shall not be made, in any event, to any

consultant or expert unless the consultant or expert has signed a non-disclosure

agreement with the retaining attorney.        This non-disclosure agreement shall, at a

minimum, require the individual to abide by the terms of this protective order and

prohibit both the use, and the disclosure, of any information or knowledge received

subject to this protective order except in connection with People v. Mitchell, No. 92 C

19459.

         Protected material received by counsel for the intervenor, or the information

contained therein, is to be used only for the subject matter of People v. Mitchell, No. 92 C

19459.     Within fourteen calendar days after a final decision on the merits in People v.

Mitchell, No. 92 C 19459, all protected documents in the possession of intervenor’s

counsel and the State’s Attorney shall be returned to the United States Attorney, or with

the prior written agreement of the United States Attorney, retained under the terms of this
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protective order for such period as may be agreed.       In the absence of such agreement

and for good cause shown, the brief period for retention of this material may be extended

by order of the court.

       This order does not prevent the United States Attorney from asserting any other

legally cognizable privilege to withhold any document or information.       Upon agreement

of the parties, or by further order of court, the terms of this protective order will apply to

subsequently disclosed documents properly marked.

       This order is considered an order of a court of competent jurisdiction for purposes

of the Privacy Act, 5 U.S.C. ' 552a(b)(11).

       Any allegations of abuse or violation of this order will be considered by the court

either for purposes of determining whether it should enter sanctions, including a

contempt of court order, or for purposes of determining whether or not the matter should

be referred for appropriate possible disciplinary proceedings, or both.


Date: January 24, 2014



                                           ___________________________________
                                           UNITED STATE DISTRICT JUDGE




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